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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF KENTUCKY
                                NORTHERN DIVISION
                                   AT COVINGTON

 NICHOLAS SANDMANN, by and                       :    CASE NO. 2:20-CV-00025-WOB-CJS
 through his parents and natural guardians,      :
 TED SANDMANN and JULIE                          :    Judge William O. Bertelsman
 SANDMANN,                                       :
                                                 :    Magistrate Judge Candace J. Smith
         Plaintiff,                              :
                                                 :
 v.                                              :
                                                 :
 ABC NEWS, INC., ABC NEWS                        :
 INTERACTIVE, INC., and THE WALT                 :
 DISNEY COMPANY,                                 :
                                                 :
         Defendants.
                                                 :

      DECLARATION CERTIFYING AUTHENTICITY OF DOMESTIC RECORDS OF
                    REGULARLY CONDUCTED ACTIVITY

       This declaration is given under the authority of 28 U.S.C. § 1746 and is intended as an
authentication of domestic records of regularly conducted activity pursuant to Federal Rules of
Evidence 803(6) & 902(11).

1.      My name is Erik MacRobbie. I make this declaration on personal knowledge and am
        competent to testify to the facts stated herein.

2.      I am employed as a Director, Media Operations, Video Resources Group, for ABC News.
        In this capacity, I serve as a custodian of records for ABC News broadcasts.

3.      The video conventionally filed and attached to this declaration as Exhibit 1-A is a true
        and accurate copy of the Good Morning America report (the “First GMA Story”)
        embedded in the article reproduced in Exhibit G of the Complaint in this Action (the
        “First ABC Article”).

4.      The video conventionally filed and attached to this declaration as Exhibit 1-B is a true
        and accurate copy of the video hyperlinked to by the First ABC Article, also available at
        https://youtu.be/sIG5ZB0fw1k.

5.      The video conventionally filed and attached to this declaration as Exhibit 1-C is a true
        and accurate copy of the video hyperlinked to by the First ABC Article, also available at
        https://twitter.com/mariajudy_/status/1086681831804674048.



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                        EXHIBIT 1-A
                      (First GMA Story)

                     EXHIBIT 1-B
                (Video hyperlinked to by
                   First ABC Article)

                     EXHIBIT 1-C
                (Video hyperlinked to by
                   First ABC Article)

                       EXHIBIT 2-A
                    (Second GMA Story)

                       EXHIBIT 2-B
                    (Video embedded in
                    Second ABC Article)



                       Filed Conventionally
